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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     CC Hillcrest, LLC

2.   All other names debtor used       dba Hillcrest Apartments
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      5      –      2      0        6    3         9   2     5

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       2019 Hillcrest Street                                           9300 Conroy-Windermere Road
                                       Number         Street                                           Number     Street
                                                                                                       #546
                                                                                                       P.O. Box



                                       Mesquite                            TX       75149              Windermere                    FL      34786
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Dallas                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor CC Hillcrest, LLC                                                                 Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




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Debtor CC Hillcrest, LLC                                                                  Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




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Debtor CC Hillcrest, LLC                                                                 Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/29/2022
                                                      MM / DD / YYYY



                                          X /s/ Jared Remington
                                              Signature of authorized representative of debtor
                                              Jared Remington
                                              Printed name
                                              Manager
                                              Title

18. Signature of attorney                X /s/ Joyce W. Lindauer                                                  Date   07/29/2022
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Joyce W. Lindauer
                                            Printed name
                                            Joyce Lindauer
                                            Firm name
                                            Joyce W. Lindauer Attorney, PLLC
                                            Number          Street
                                            1412 Main Street, Suite 500

                                            Dallas                                                     TX                 75202
                                            City                                                       State              ZIP Code


                                            (972) 503-4033                                             joyce@joycelindauer.com
                                            Contact phone                                              Email address
                                            21555700                                                   TX
                                            Bar number                                                 State




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:    CC Hillcrest, LLC                                                     CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/29/2022                                          Signature   /s/ Jared Remington
                                                                    Jared Remington
                                                                    Manager




Date                                                    Signature
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                         Attorney General of Texas
                         Bankruptcy Division
                         P O Box 12548
                         Austin, TX 78711-2548


                         City of Mesquite
                         Attn.: Code Enforcement
                         1515 N. Galloway Ave.
                         Mesquite, TX 75149


                         Cody McCullar, Esq.
                         1515 N. Galloway Ave
                         Mesquite, TX 75149



                         Darrell Cook, Esq.
                         6688 N Central Expy Ste 1000
                         Dallas, TX 75206-3900



                         David Paschall, Esq.
                         1515 N. Galloway Ave
                         Mesquite, TX 75149



                         Internal Revenue Service
                         Mail Code DAL-5020
                         1100 Commerce Street
                         Dallas, Texas 75242-1100


                         Internal Revenue Service
                         Centralized Insolvency Operations
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         Joseph J. Mastrogiovanni, Jr.
                         Mastrogiovanni PLLC
                         8080 N. Central Expressway, Suite 1300
                         Dallas, TX 75206


                         Julius E. Jenkins
                         Legal Aid of NorthWest Texsa
                         1515 Main St.
                         Dallas, TX 75201
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                         Linebargar Goggan Blair & Sampson
                         2777 N. Stemmons Freeway
                         Suite 1000
                         Dallas, TX 75207


                         NEF Preservation PB Fund I LP
                         10 S. Riverside Plaza, Su. 1700
                         Chicago, IL 60606



                         Supawon Lervisit
                         Legal Aid of NorthWest Texas
                         400 S. Zang Blvd., Suite 1420
                         Dallas, TX 75208


                         Texas Comptroller of Public Accounts
                         Revenue Accting Div - Bankr Section
                         PO Box 13528
                         Austin, TX 78711-3528


                         Texas Workforce Commission
                         101 East 15th Street
                         Austin, TX 78778-0001



                         U. S. Attorney General
                         Department of Justice
                         Main Justice Building
                         10th & Constitution Ave., NW
                         Washington, DC 20530-0001

                         U. S. Trustee's Office
                         1100 Commerce Street
                         Room 976
                         Dallas, TX 75242
